           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:09CR13-9

UNITED STATES OF AMERICA,                            )
                                                     )
Vs.                                                  )               ORDER
                                                     )
YVONNE MARIE FOUNTAIN.                               )
__________________________________                   )

        THIS MATTER is before the court on defendants’ Motion to Continue.

Having considered defendants’ motion and reviewed the pleadings, the court enters

the following Order.

                                     ORDER

        IT IS, THEREFORE, ORDERED that defendants’ Motion to Continue

(#252) is GRANTED, and the Rule 11 proceeding in this matter is reset for Monday,

June 29, 2009, at a time to be determined by the Clerk of this court. Both lead

counsel and local counsel shall attend such hearing with their client.



                                          Signed: June 22, 2009




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